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                                               UNITED STATES DISTRICT COURT
                                                 FOR THE blsTRICT 0F OREGON

      UNITED STAThs OF ARERICA                                                                                  ORDER SETTING CONDITIONS
                           V.                                                                                                 0F RELEASE

      Nicholas Kloiber                                                                                            Case Number: 3 :20-CR-00255-SI-1


     IT IS ORDERED that the I.elease of the defendant is subject fo the following conditions:

-,I,
-(2)
              The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.
              The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C § 14135a.

i-   (3)      The defendant shall immediately advise the court through Pretrial Services or defense counsel in writing of any change in
              address and telephone number.
-(4)          The defendant shall appear at all proceedings as required and shall surrender for service of any sentence inposed as directed.
              The defendant shall next appear as directed by U.S. District Court.

                                                             Additional Conditions of Release




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               97204 unless on Official court business. .


                                       Advice of Penalties and Sanctions
     TO THE DEFENDANT:
           YOU ARE ADVISED OF TEE FOLLOWING PENALTIES AND SANCTIONS :
                 A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
     release, an order Of detentiofl, forfeiture of bond, and a prosecution for contempt of court and could result in a tom of imprisonment, a fine, or both.
                 The commission of any crine while on pre-trial release may result in an additional sentence to a tern of imprisonment of pot more than ten
     years, if the offense is a felony; or a ten of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in addition
     to any other sentence.
                 Federal law makes it a crime punishable by up to ten years of inprisonment, and a $250,000 fine or both to intimidate or attempt to intimidate
     a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten years of
     imprisonment, a $250,000 fine or both, to tanper with a witness, victim or informant, or to retaliate against a witness, victim or infomant, or to threaten
     or attempt to do so.

               Ifafterrelease,youknowinglyfailtoappearasrequiredbytheconditionsofrelease,o+tosurrenderfortheserviceofsentenee,youmaybe
     prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     (1)       an offense punishable by death, life inprisonment, or imprisonment for a ten of fifteen years or more, you shall be fined not more than
              $250,000 or imprisoned for no more than ten years, or both;
     (2)       an offense punishable by imprisonment for a ten of five years or more, but less than fifteen years, you shall be fined not more than $250,000
              or inprisoned for no more than five years. or both;
     (3)       any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;
     (4)       a misdemeanor, you shall be fined not more than s loo,000 or inprisoned not more than one year, or both;

                A term 6f imprisonment imposed for failure to appear or Surrender shall be in addition to the sentence for any other offense.   In addition, a
     failure to appeir may result in the forfeiture of any bond posted.
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                                                           Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                -\/
                                                                                                         Signature of Defendant

                                                                                   X\           fl;'g#;ef f,De;                               e 4 G/7C:30
                                                                                                            City, State & Zip


Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
I        Alcohol detection
I        Drug detection
H         Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Directions to the United States Marshal
ill      The defendant is ORDERED released after processing.
I       The defendant is ORDERED temporarily released.
I       The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
          judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
          avallability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
          produced before the duty Magistrate Judge on                                      at



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                                                                                                       U.S. Magistrate Judge

                                                                                                Name and Title of Judicial Officer




cc:       Defendant
          US Attorney
          US Marshal
          Pretrial Services




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